USDC IN/ND case 1:10-cv-00064-TLS-SLC document 222-1 filed 05/03/18 page 1 of 8
USDC IN/ND case 1:10-cv-00064-TLS-SLC document 222-1 filed 05/03/18 page 2 of 8
USDC IN/ND case 1:10-cv-00064-TLS-SLC document 222-1 filed 05/03/18 page 3 of 8
USDC IN/ND case 1:10-cv-00064-TLS-SLC document 222-1 filed 05/03/18 page 4 of 8
USDC IN/ND case 1:10-cv-00064-TLS-SLC document 222-1 filed 05/03/18 page 5 of 8
USDC IN/ND case 1:10-cv-00064-TLS-SLC document 222-1 filed 05/03/18 page 6 of 8
USDC IN/ND case 1:10-cv-00064-TLS-SLC document 222-1 filed 05/03/18 page 7 of 8
USDC IN/ND case 1:10-cv-00064-TLS-SLC document 222-1 filed 05/03/18 page 8 of 8
